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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                            Case No. 02-cr-153-07-PB

Guy Desjardins



                              NOTICE OF RULING


      Re:   Document No. 283, Motion to Exceed CJA
            Compensation Limit


     Ruling: This was an extremely complicated case. The case was
based on events that occurred in Canada. There were more than 10
defendants and hundreds of victims. The discovery was voluminous.
Counsel’s request to exceed CJA limits is thus reasonable under the
circumstances. Motion granted.


      Entered by:    Paul Barbadoro, U.S. District Judge

      Date:   February 6, 2006




cc:   David Vicinanzo, Esq.
